        Case 2:09-cr-00196-KJM Document 51 Filed 11/04/10 Page 1 of 2
 1   PETER KMETO
     Attorney at Law
 2   State Bar No. 78827
     1007 Seventh Street, Suite 100
 3   Sacramento, CA 95814
     (916) 444-7420; FAX: (916) 441-6714
 4
     Attorney for: MICHAEL LEON W ILLIAMS
 5

 6                      IN THE UNITED STATES DISTRICT COURT

 7                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                      )    No. CR-S-09-196 GEB
                                                    )
10                      Plaintiff,                  )
                                                    )    STIPULATION AND ORDER
11         vs.                                      )    CONTINUING STATUS
                                                    )    HEARING
12   MICHAEL LEON W ILLIAMS, et. al.                )
                                                    )
13                      Defendant.                  )
                                                    )
14

15         Defendant: MICHAEL LEON W ILLIAMS, through his attorney, PETER

16   KMETO, and the United States of America, through its counsel of record,

17   CAROLYN DELANEY, stipulate and agree to the following:

18         1. The presently scheduled date of November 5, 2010 for Status Hearing

19         shall be vacated as to defendant, MICHAEL LEON W ILLIAMS, only, and said

20         Hearing be rescheduled for December 10, 2010 at 9:00 a.m..

21         2. Defendant, MICHAEL LEON WILLIAMS, due to previously discussed illness,

22         has just recently become available to counsel to discuss settlement of the case,
23         However, defense counsel has been and continues to be in trial and,
24         therefore, has been unavailable to defendant.
25
           3. Both defense and government counsel anticipate that the case will be
26
           ready for entry of plea on December 10, 2010. Accordingly, the parties
27

28                                            -1-
        Case 2:09-cr-00196-KJM Document 51 Filed 11/04/10 Page 2 of 2
 1         stipulate that time be excluded pursuant to 18 U.S. C. §3161(h)(7)(A) [Local

 2         Code T4] – additional time to adequately prepare for pretrial proceedings.

 3

 4
           IT IS SO STIPULATED.
 5
     Dated:   November 3, 2010                 /s/ CAROLYN DELANEY
 6
                                              Assistant U.S. Attorney
 7                                            for the Government

 8

 9   Dated: November 3 , 2010                 /s/ PETER KMETO
                                              Attorney for Defendant
10
                                              MICHAEL LEON W ILLIAMS
11

12

13                                            ORDER

14               UPON GOOD CAUSE SHOW N and the stipulation of the two parties,

15   it is ordered that the hearing for STATUS HEARING as to Defendant, W ILLIAMS,

16   only, be continued as set forth above.

17               The Court finds excludable time pursuant to 18 U.S.C. § 3161(h)(7)(A)
18   and Local Rule T-4 until December 10, 2010 for continuity of defense counsel and
19   time to permit defense counsel to prepare and properly advise his client.
20
     Dated: November 3, 2010
21

22

23
                                         GARLAND E. BURRELL, JR.
24                                       United States District Judge
25

26

27

28                                             -2-
